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3
4                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
5                                    AT SEATTLE
6
7     BARONIUS PRESS LTD,
8                                                     CASE NO.
                                      Plaintiff(s),   2:22−cv−01635−TL
9                         v.
                                                      ORDER SETTING JURY TRIAL
10                                                    DATE AND RELATED DATES
      FAITHLIFE CORPORATION et al.,
11
12                                  Defendant(s).

13         Having reviewed the Joint Status Report and Discovery Plan submitted by the
14   parties (Dkt. No. 70), the Court hereby SETS this case for trial and ORDERS the
15   following pretrial schedule:
16
                                      Event                                     Date
17
      JURY TRIAL SET FOR 09:00 AM ON                                        8/11/2025
18
      Length of trial                                                       3−7 days
19
      Deadline for joining additional parties                               6/20/2024
20
      Deadline for filing amended pleadings                                 7/17/2024
21
      Disclosure of expert testimony under FRCP 26(a)(2) due                1/13/2025
22
      Disclosure of rebuttal expert testimony under FRCP 26(a)(2) due       2/12/2025
23
      All motions related to discovery must be filed by                     2/12/2025
24
      Discovery completed by                                                3/12/2025
25
      All dispositive motions and motions challenging expert witness        4/11/2025
26    testimony must be filed by this date (see LCR 7(d))

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1
      Settlement Conference, if mediation has been requested by the
                                                                              5/13/2025
2     parties per LCR 39.1, held no later than

3     Mediation per LCR 39.1, if requested by the parties, held no
                                                                              6/12/2025
      later than
4
      All motions in limine must be filed by                                  7/7/2025
5
      Agreed LCR 16.1 Pretrial Order due                                      7/21/2025
6
      Trial briefs, proposed voir dire questions, and proposed jury
7     instructions due by this date. Counsel are to confer and indicate       7/25/2025
      with their submissions which exhibits are agreed to.
8
      Pretrial Conference scheduled for 01:00 pm on                           8/1/2025
9
10         All other dates are specified in the Local Civil Rules. With the exception of the
11   deadlines described in Section III.A of Judge Lin's Standing Order for All Civil Cases,
12   the dates set forth in this order are firm dates that can be changed only by order of the
13   Court, not by agreement of counsel for the parties. The Court will alter these dates only
14   upon good cause shown. Failure to complete discovery within the time allowed is not
15   recognized as good cause. Judge Lin will not decrease the amount of time between the
16   dispositive motion or motion in limine deadlines and the trial date unless the parties set
17   forth an extraordinary basis for doing so. Any changes in the dispositive motion or
18   motion in limine deadlines will result in a change of the trial date. If any of the dates
19   identified in this Order or the Local Civil Rules fall on a weekend or federal holiday,
20   the act or event shall be performed on the next business day.
21         If the trial date assigned to this matter creates an irreconcilable conflict, counsel
22   must provide written notice to Courtroom Deputy Kadya Peter at
23   kadya_peter@wawd.uscourts.gov within ten (10) days of the date of this Order and must
24   set forth the exact nature of the conflict. A failure to do so will be deemed a waiver.
25   Counsel must be prepared to begin trial on the date scheduled, but it should be
26

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1    understood that the trial may have to await the completion of other cases.
2                                        COOPERATION
3          As required by LCR 37(a), all discovery matters are to be resolved by agreement if

4    possible. Counsel are also directed to cooperate in preparing the final pretrial order in the

5    format required by LCR 16.1, except as ordered below.

6                                            EXHIBITS
7          One hard copy and one electronic copy of the trial exhibits are to be delivered to

8    Judge Lin's chambers five (5) days before the trial date. Each exhibit shall be clearly

9    marked. The Court hereby alters the LCR 16.1 procedure for numbering exhibits:

10   Plaintiff(s)' exhibits shall be numbered consecutively beginning with P−1; defendant(s)'

11   exhibits shall be numbered consecutively beginning with D−1. Joint exhibits shall be

12   numbered consecutively beginning with J−1. Duplicate documents shall not be listed

13   twice. Each exhibit shall be printed double−sided unless there is a specific need to not do

14   so. Once a party has identified an exhibit in the pretrial order, it may be used by any

15   party. Each set of exhibits shall be submitted in a three−ring binder with appropriately

16   numbered tabs.

17                                           PRIVACY

18         Pursuant to LCR 5.2(a), parties shall refrain from including, or shall partially

19   redact where inclusion is necessary, the following personal data identifiers from all

20   documents filed with the court or used as exhibits in any hearing or at trial, unless

21   otherwise ordered by the court:

22        • Dates of Birth − redact to the year of birth, unless deceased.

23        • Names of Minor Children − redact to the initials, unless deceased or currently over
            the age of 18.
24
          • Social Security or Taxpayer Identification Numbers − redact in their entirety.
25
          • Financial Accounting Information − redact to the last four digits.
26
          • Passport Numbers and Driver License Numbers − redact in their entirety.

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1          Parties in social security appeals and immigration cases shall comply with LCR
2    5.2(c).
3                                         SETTLEMENT
4          If this case settles, counsel shall file a Notice of Settlement as soon as possible

5    and in accordance with Judge Lin's Standing Order for All Civil Cases. Pursuant to LCR

6    11(b), an attorney who fails to give the Court prompt notice of settlement may be subject

7    to such discipline as the Court deems appropriate.

8
9          Dated the 22nd of May 2024.

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                                               Tana Lin
12                                             United States District Judge
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